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IN THE uNITED sTATEs DISTRICT coURT m-ED BY._ ` D_C_
FoR THE wEsTERN DIsTRIcT oF TENNESSEE
wEsTERN DIvIsIoN 05 JUN 29 H 2; 2,\
ROBHD'R.DFTROUO
AMERICAN coMMERcIAL BARGE LINE, ch'I-JERSF king EIES&P%
l l . l
Plaintiff,
vs. No. 04-2001-Ma

FLEISCHMANN'S YEAST, E'I‘ AL. ,

Defendants.

 

ORDER RESETTING CONFERENCE

 

A pretrial conference was set in this matter on June 17,
2005, at 9:00 a.m. Counsel for the defendants appeared for the
conference. No one appeared on behalf of the plaintiff. The
pretrial conference is ;ggg§ to THURSDAY, JUNE 30, 2005, AT 9:30
A.M. Failure of plaintiff’s counsel to appear may result in the
dismissal of this case for failure to prosecute.

It is so ORDERED this "H{\ day of June, 2005.

SAMUEL H. MAYS, JR.
UNI'I‘ED STATES DISTRICT JUDGE

 

This document entered en the docket heet ln corbnp|iance
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with Hule 58 and/or 79(a) FHCP on 152 'Z/ Q 2

 

 

 

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This notice confirms a copy of the document docketed as number 34 in
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Honorable Samuel Mays
US DISTRICT COURT

